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                          THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


SS&C Technologies Holdings, Inc.,

                       Plaintiff,                     Civil Action No. 19-cv-07859 (JSR)

                                                      ORAL ARGUMENT REQUESTED
 v.

AIG Specialty Insurance Company,

                      Defendant.


                         PLAINTIFF’S PRELIMINARY PRETRIAL
                    DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(A)(3)

           Plaintiff SS&C Technologies Holdings, Inc. (“SS&C”), pursuant to Fed. R. Civ. P.

26(a)(3) and Judge Rakoff’s Individual Practices Rule 4(a), hereby makes the following

disclosures.

      I.      Rule 26(a)(3)(A)(i) – SS&C’s Preliminary Trial Witness List

           At this time, SS&C identifies the following witnesses for trial:


                     WITNESS, employer                   WILL     MAY             ADDRESS
                                                         CALL     CALL
  1.        Christopher Wolfe, AIG Specialty                                  175 Water Street,
            Insurance Company (“AIG”)                                         7th Floor, New
                                                            X                 York, NY 10038,
                                                                              (212) 458-1418


  2.       Kris Ann Cappelluti, AIG                                           175 Water Street,
                                                                              7th Floor, New
                                                            X                 York, NY 10038,
                                                                              (212) 458-6225
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  3.    AIG’s Corporate Representative(s) at              X
        trial; AIG

  4.    Jeffrey Kalustian (by deposition), AIG                            99 High Street, 25th
                                                                   X      Floor, Boston, MA
                                                                          02110,
                                                                          (617) 235-7910
  5.    SS&C’s Corporate Representative at trial,         X
        SS&C

  6.    Paul Igoe (by deposition), Excelitas                       X        3 Pine Tree Lane,
        Technologies (formerly SS&C)                                        Lincoln, RI 02865
                                                                             (781) 522-5958
  7.    Thomas Martocci (by deposition), SS&C                      X      80 Lamberton Road,
                                                                          Windsor, CT 06095,
                                                                          (860) 298-4660
  8.    Matthew Balemian (by deposition), SS&C                     X      80 Lamberton Road,
                                                                          Windsor, CT 06095,
                                                                          (860) 298-4881


       SS&C reserves the right to modify, amend, or supplement this list prior to or during trial

based on case developments, including but not limited to the right to: (1) not call some of the

witnesses listed above, (2) call some of the witnesses above by prior trial testimony, (3) call live

or by deposition as its witnesses at trial any witness identified on AIG’s witness list, (4) call live

any witnesses necessary to authenticate or lay the foundation for the introduction of documents

to which AIG objects, (5) add additional witnesses to testify live or by prior trial testimony, or by

deposition, (6) introduce deposition testimony or prior trial testimony as impeachment evidence

or in rebuttal, or (7) change a witness from a live witness to a witness testifying by prior trial

testimony, (8) change a witness from a live witness to a witness testifying by deposition, and

vice versa. Plaintiffs further reserve the right to supplement or modify this list (1) if any further

depositions are taken in this matter, or (2) in response to rulings by the Court (including on any

motions). Plaintiffs include in this list individuals who may be listed on AIG’s witness list

without prejudice to its right to object to AIG’s presentation of those witnesses at trial, the

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admissibility of all or part of those witnesses’ testimony, or its right to move for the exclusion of

those witnesses’ testimony.

   II.     Rule 26(a)(3)(A)(ii) – SS&C’s Preliminary Deposition Designations

                                                                                      Notes
                                                                                      (partial line
                                                                                      designations;
                                                                                      exhibits
   Name             Begin Page      Begin Line       End Page         End Line        introduced)
   Jeffrey          5               18               5                20
   Kalustian        8               18               10               24
                                                                                      Discussing
                                                                                      Kalustian Ex.
                                                                                      3,         the
                                                                                      Underwriting
                                                                                      Analysis
                                                                                      (AIG-
                    29              9                29               13              005796)
                    33              13               35               3
                    40              21               41               9
                                                                                      Discussing
                                                                                      Kalustian Ex.
                    49              24               50               5               5
                                                                                      Discussing
                                                                                      Kalustian Ex.
                                                                                      7 (AIG-ESI-
                    54              21               57               16              07678)
                    94              12               95               3
   Matthew          11              6                11               23
   Balemian                                                                           Discussing
                                                                                      Ex. 12, the
                                                                                      Services
                    13              13               14               22              Agreement
                                                                                      Discussing
                                                                                      Balemian Ex.
                                                                                      13, SS&C's
                                                                                      third    party
                    20              13               20               23              complaint
                    21              16               22               11
                                                                                      Discussing
                                                                                      Balemian Ex.
                                                                                      19 (SS&C-
                                                                                      COV-
                    44              14               45               22              0041989)

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                      49              12               50             22
   Thomas             5               19               6              7
   Martocci           8               8                8              16
                      18              19               18             23
                      11              5                12             6
                      21              1                21             11
   Paul Igoe          14              3                14             21
                                                                                      Discussing
                                                                                      Ex. 4, the
                      52              20               53             6               Denial Letter
                      61              6                62             5


          Plaintiff reserves the right to supplement or modify these designations, including, but not

limited to, the right to supplement this list with additional deposition designations for witnesses

on AIG’s “will call” witness list who are not called to testify at trial. Plaintiff also reserves the

right to reduce the amount of designated testimony for any listed witness for any reason.

   III.      Rule 26(a)(3)(A)(iii) – SS&C’s Preliminary Trial Exhibit List

 Exhibit       Description                                         Bates Range
 Number
 PX-001        SS&C Policy No. 01-274-16-88 from 4/30/3015         AIG-000001 - AIG-
               to 4/30/2016                                        000131



 PX-002        Email from A. Roxland (AON) to SS&C Claims          AIG-000132 - AIG-
               re Notice - SS&C (Tillage Commodity Fund -          000136
               Wire) E&O (including attachment: Aon Letter to
               AIG re Tillage Commodity Fund Fraudolent
               Wire Transfer)
 PX-003        Summary of SS&C Policy No. 01-274-16-88             AIG-000137 - AIG-
                                                                   000141
 PX-004        Letter from B. Conlin (AIG) to A. Roxland           AIG-000291
               (AON) re SS&C Claim No. 9774577298US
 PX-005        Email from L. Raymond (AIG) to P. Igoe              AIG-000295 - AIG-
               (SS&C) re 9774577298US Tillage Commodity            000298
               Fund - Wire (including attachment: Letter from
               AIG to SS&C)
 PX-006        Email chain from M. Brandi (AIG) to P. Igoe         AIG-000302 - AIG-
               (SS&C) re Notice - SS&C (Tillage Commodity          000303
               Fund - Wire) - Crime - Claim No.

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PX-007     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-000371 - AIG-
           DropFile re SS&C Claim Number                    000377
           9774577298US
PX-008     Letter from K.A. Cappelluti (AIG) to P. Igoe     AIG-000382 - AIG-
           (SS&C) re Claim No. 9774577298US                 000388; AIG-ESI-00060
                                                            - AIG-ESI-00065
PX-009     Email chain from K.A. Cappelluti (AIG) to FL-    AIG-000395 - AIG-
           DropFile re Claimant: Tillage Commodity - AIG    000401
           Claim 9774577298us (including attachment: Air
           Letter to P. Igoe)
PX-010     Email chain from K.A. Cappelluti (AIG) to FL-    AIG-000402 - AIG-
           DropFile re Claimant: Tillage Commodity          000409
           (including attachment: AIG Letter to P. Igoe)
PX-011     Email chain from K.A. Cappelluti (AIG) to FL-    AIG-000481 - AIG-
           DropFile re SS&C Claim Number                    000486
           9774577298US forwarding M. Kelly November
           17, 2016 email chain
PX-012     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-000497 - AIG-
           DropFile re SS&C Claim Number                    000509
           9774577298US (including attachment: Order on
           SS&C Motion to Dismiss dated 12/30/2016,
           Tillage Commodities Fund L.P. v. SS&C
           Technologies, Inc., Index No. 654765/2016,
           Supreme Court of New York)
PX-013     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-000699
           DropFile re 9774577298US FW: mediation
PX-014     Email chain from K.A. Cappelluti (AIG) to FL-    AIG-000724 - AIG-
           DropFile re Tillage v. SS&C -- Claim Number      000725
           9774577298US forwarding M. Kelly Jun 4, 2017
           email chain
PX-015     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-000845
           DropFile re Tillage v. SS&C -- Claim Number
           9774577298US
PX-016     Email Chain from K.A. Cappelluti to M. Kelly     AIG-000905 - AIG-
           and P. Spagnoletti re Tillage Settlement         000906; SS&C-COV-
           Discussion AIG Claim 9774577298us                0046270 - SS&C-COV-
                                                            046271
PX-017     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-000907 - AIG-
           DropFile re 9774577298US FW: Tillage             000908
           Commodities-SS&C
PX-018     Affirmation and Exhibits in Support of SS&C      AIG-001473 - AIG-
           Technologies, Inc.'s Amended Third-Party         001488
           Complaint and Opposition to Third-Party
           Defendants' Motion to Dismiss (Docket. No. 75,
           Tillage Commodities Fund L.P. v. SS&C
           Technologies, Inc., Index No. 654765/2016,

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           Supreme Court of New York)




PX-019     Agreement to Provide Administration Services     AIG-001476 - AIG-
           between SS&C Technologies, Inc. and Tillage      001488
           Commodities Management, LLC
PX-020     Reply Memorandum of Law in Further Support       AIG-001845 - AIG-
           of Third-Party Defendants Tillage Commodities,   001862
           LLC and Tillage Commodities Management,
           LLC's Motion to Dismiss the Amended Third-
           Party Complaint (Docket. No. 82, Tillage
           Commodities Fund L.P. v. SS&C Technologies,
           Inc., Index No. 654765/2016, Supreme Court of
           New York)
PX-021     Email Chain from K.A. Cappelluti (AIG) to J.     AIG-002136 - AIG-
           White (SS&C) re SS&C Claim Number                002138
           9774577298US
PX-022     Expert Report of Raymond O'Neill (Tillage        AIG-002330 - AIG-
           Commodities Fund L.P. v. SS&C Technologies,      002367
           Inc., Index No. 654765/2016, Supreme Court of
           New York)
PX-023     Affidavit of Matthew Balemian (Docket. No.       AIG-002722 - AIG-
           141, Tillage Commodities Fund L.P. v. SS&C       002727
           Technologies, Inc., Index No. 654765/2016,
           Supreme Court of New York)
PX-024     Affidavit of Thomas Martocci (Docket. No. 170,   AIG-002754 - AIG-
           Tillage Commodities Fund L.P. v. SS&C            002763
           Technologies, Inc., Index No. 654765/2016,
           Supreme Court of New York)
PX-025     Davis Polk Presentation titled "Tillage          AIG-003041 - AIG-
           Commodities Fund v. SS&C Technologies,           003057
           Analysis of Mock Trial"
PX-026     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-003103 - AIG-
           DropFile re 9774577298US FW: SS&C v.             003106
           Tillage
PX-027     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-003146 - AIG-
           DropFile re Insured: SS&C Technologies /         003159
           Tillage Commodity Fund - 9774577298US
           forwarding Seligman July 9, 2019 email chain
PX-028     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-003205 - AG-
           DropFile re Tillage: Claim Number 9774577298     003209
           US/Settlement forwarding Wolfe March 18, 2019
           email chain
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PX-029     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-003227 - AG-
           DropFile re Tillage: Claim Number 9774577298     003229
           US/Settlement
PX-030     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-003284 - AIG-
           DropFile re Insured: SS&C Technologies /         003297
           Tillage Commodity Fund - 9774577298US
           forwarding Wolfe May 22, 2019 email chain
PX-031     Email from K.A. Cappelluti (AIG) on behalf of    AIG-003479 - AIG-
           K.A. Cappelluti to FL-DropFile re SS&C Claim     003485
           Number 9774577298US forwarding Meyer June
           26, 2017 email (including attachment: June 22,
           2017 Order on Motion to Dismiss in the Tillage
           Commodities Fund L.P. v. SS&C Technologies,
           Inc., Index No. 654765/2016 action)
PX-032     Memorandum of Law in Opposition to Motion to AIG-003612 - AIG-
           Dismiss (Docket. No. 10, Tillage Commodities    003642
           Fund L.P. v. SS&C Technologies, Inc., Index No.
           654765/2016, Supreme Court of New York)
PX-033     Email Chain from K.A. Cappelluti (AIG) on        AIG-004088
           behalf of K.A. Cappelluti to FL-DropFile re
           9774577298US FW: Tillage negotiations
           forwarding Igoe August 14, 2017 email
PX-034     Email Chain from K.A. Cappelluti (AIG) on        AIG-004090 - AIG-
           behalf of K.A. Cappelluti to FL-DropFile re      004093
           SS&C Claim Number 9774577298US
           forwarding Wolfe June 18, 2018 email chain
PX-035     Email Chain from K.A. Cappelluti (AIG) on        AIG-004094 - AIG-
           behalf of K.A. Cappelluti to FL-DropFile re      004097
           SS&C Claim Number 9774577298US
           forwarding Wolfe June 19, 2018 email chain
PX-036     Email Chain from K.A. Cappelluti (AIG) on        AIG-004100 - AIG-
           behalf of K.A. Cappelluti to FL-DropFile re      004105
           SS&C Claim Number 9774577298US
           forwarding Kelly February 1, 2019 email chain
PX-037     Email Chain from K.A. Cappelluti (AIG) on        AIG-004168 - AIG-
           behalf of K.A. Cappelluti to FL-DropFile re      004172
           SS&C Claim Number 9774577298US
           forwarding Cruz June 26, 2018 email chain
PX-038     Email Chain from K.A. Cappelluti (AIG) to FL-    AIG-004178 - AIG-
           DropFile re Tillage: Claim Number 9774577298     004181
           US/Settlement forwarding Wolfe March 18, 2019
           email chain




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PX-039     Email Chain from K.A. Cappelluti (AIG) to FL-       AIG-004182 - AIG-
           DropFile re 9774577298US FW: Tillage                004185
           Commodities-SS&C forwarding Kelly April 20,
           2017 email chain
PX-040     Email Chain from K.A. Cappelluti (AIG) to FL-       AIG-004243 - AIG-
           DropFile re 9774577298US FW: Tillage                004245
           forwarding Spagnoletti September 18 2017 email
           chain
PX-041     Email Chain from K.A. Cappelluti (AIG) on           AIG-004254 - AIG-
           behalf of K.A. Cappelluti to FL-DropFile re         004261
           [EXTERNAL] RE: Tillage: Claim Number
           9774577298 US forwarding Wolfe April 2, 2019
           email chain
PX-042     Email Chain from K.A. Cappelluti (AIG) on           AIG-004308 - AIG-
           behalf of K.A. Cappelluti to FL-DropFile re         004309
           Tillage: Claim Number 9774577298 US
           forwarding Kelly February 27, 2019 email chain
PX-043     Email Chain from K.A. Cappelluti (AIG) to FL-       AIG-004314 - AIG-
           DropFile re 9774577298US FW: Tillage                004320
           Commodities-SS&C forwarding Wolfe April 21,
           2017 email chain
PX-044     Email Chain from K.A. Cappelluti (AIG) on           AIG-004353 - AIG-
           behalf of K.A. Cappelluti to FL-DropFile re         004356
           9774577298US FW: Tillage forwarding Wolfe
           August 2, 2017 email chain
PX-045     Davis Polk Memorandum to K.A. Cappelluti re         AIG-004463 - AIG-
           Tillage Commodities Fund L/P/ v. SS&C               004472
           Technologies , Inc. Agreed-to-Litigation Plan
PX-046     4/30/2015 - 4/30/2016 Choice of Counsel             AIG-005196 - AIG-
           Request 2015                                        005200
PX-047     Email Chain from A. Peacock (AIG) to J.             AIG-005264 - AIG-
           Kalustian (AIG) re SS&C (Update on Bradshaw         005265
           matter)
PX-048     Email Chain from M. Trokenheim (AIG) to J.          AIG-005272 - AIG-
           Kalustian (AIG) re SS&C (Choice of Counsel          005276
           Endorsement Request for 2015-2016 Manuscript
           Policy) (Including attachment: Choice of Panel or
           Scheduled Counsel Endorsement)
PX-049     Email Chain from J. Niemczyk (AIG) to J.            AIG-005281 - AIG-
           Kalustian (AIG) re SS&C Software Renewal            005283
           2015-2016
PX-050     Email Chain from J. Marshall-Tate (Willis           AIG-005458 - AIG-
           Americas Administration) to J. Kalustian (AIG)      005459; AIG-ESI-07681
           re SS&C                                             - AIG-ESI-07682


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PX-051     AIG Specialty Risk Protector Specialty             AIG-005531 - AIG-
           Professional Liability Insurance (SPL)             005535
PX-052     Chart Summarizing SS&C Policy Expiring             AIG-005691 - AIG-
           4/30/2016                                          005694
PX-053     Letter from AIG to SS&C re Conditional             AIG-005718 - AIG-
           Renewal Notice                                     005719
PX-054     AIG Letter to J. Marshall-Tate (Willis of          AIG-005721 - AIG-
           Connecticut, LLC) re Cover Note Evidencing         005722
           Insurance Placement Confirmation
PX-055     AIG Loss Run Report                             AIG-005778 - AIG-
                                                           005793
PX-056     4/30/2015-4/30/2016 Underwriting Analysis       AIG-005796 - AIG-
                                                           005812
PX-057     AIG Claims (U.S.) - Claims Handling Standards   AIG-005919 - AIG-
                                                           006001
PX-058     AIG property & Casualty Claims Handling         AIG-006002 - AIG-
           Guidelines Issued on 7/2/2013                   006017
PX-059     AIG Property & Casualty Claims Handling         AIG-006018 - AIG-
           Policy Issued on 7/2/2013                       006025
PX-060     Miscellaneous Professional Liability (MPL)      AIG-006029 - AIG-
           Underwriting Methodology                        006079
PX-061     Letter from AON to AIG re Tillage Commodity     AIG-006080 - AIG-
           Fund - Wire                                     006082
PX-062     Letter from AIG to P. Igoe (SS&C) re Tillage    AIG-006083 - AIG-
           Commodity Fund - Wire                           006085
PX-063     Letter from AIG to P. Igoe (SS&C) re Claim      AIG-006086 - AIG-
           9774577298 US                                   006092
PX-064     Complaint (Docket. No. 2, Tillage Commodities   AIG-006098 - AIG-
           Fund L.P. v. SS&C Technologies, Inc., Index No. 006123
           654765/2016, Supreme Court of New York)
PX-065     Third-Party Summons and SS&C's Third-Party         AIG-006124 - AIG-
           Complaint against Tillage (Docket. No. 40,         006153
           Tillage Commodities Fund L.P. v. SS&C
           Technologies, Inc., Index No. 654765/2016,
           Supreme Court of New York)
PX-066     Notes of Claim from 4/7/2016 to 8/28/2019          AIG-006154 - AIG-
                                                              006163
PX-067     Letter from K.A. Cappelluti (AIG) to P. Igoe       AIG-ESI-00034 - AIG-
           (SS&C) re Claim No. 9774577298US                   ESI-00040
PX-068     Affidavit of Chris Prettyman (Tillage              AIG-ESI-00082 - AIG-
           Commodities Fund L.P. v. SS&C Technologies,        ESI-00084
           Inc., Index No. 654765/2016, Supreme Court of
           New York)
PX-069     Draft of Letter from K.A. Cappelluti (AIG) to P.   AIG-ESI-00105 - AIG-
           Igoe (SS&C) re Claim No. 9774577298US              ESI-00110

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PX-070   AIG Letter to P. Igoe re Claim 9774577298US        AIG-ESI-00111 - AIG-
                                                            ESI-00116
PX-071   SS&C Statement of Material Facts (Tillage          AIG-ESI-00147 - AIG-
         Commodities Fund L.P. v. SS&C Technologies,        ESI-00158
         Inc., Index No. 654765/2016)
PX-072   Email Chain from K.A. Cappelluti (AIG) to C.       AIG-ESI-00769 - AIG-
         Wolfe (AIG) re SS&C                                ESI-00770
PX-073   Email from K.A. Cappelluti to FL-DropFile re       AIG-ESI-00785 - AIG-
         PLEASE DISREGARD PREVIOUS                          ESI-00792
         ATTACHMENT. AIG Claim 9774577298us -
         Claimant: Tillage Commodity (including
         attachment: AIG Letter to P. Igoe re Claim
         9774577298US)
PX-074   Email Chain from K.A. Cappelluti (AIG) to FL-      AIG-ESI-00851 - AIG-
         DropFile re forwarding email from C. Wolfe to P.   ESI-00852
         Igoe re SS&C-Claim Number 9774577298US
         (Tillage Matter)
PX-075   Email from K.A. Cappelluti (AIG) to C. Wolfe       AIG-ESI-00874 - AIG-
         (AIG)re SS&C (including attachment: AIG Letter     ESI-00880
         to P. Igoe re Claim 9774577298US)
PX-076   Email from K.A. Cappelluti (AIG) to D.             AIG-ESI-01533 - AIG-
         Ruhlman (AIG) re SS&C Technologies Inc.            ESI-01536
         Claims Update
PX-077   Decision and Order on Motion to Dismiss            AIG-ESI-01675 - AIG-
         (Tillage Commodities Fund L.P. v. SS&C             ESI-01680
         Technologies, Inc., Index No. 654765/2016,
         Supreme Court of New York)
PX-078   Email Chain from C. Wolfe to K.A. Cappelluti re    AIG-ESI-01747 - AIG-
         SS&C Claim Number 9774577298US                     ESI-01749
PX-079   Email Chain from C. Wolfe to K.A. Cappelluti       AIG-ESI-01812 - AIG-
         (AIG) re Tillage v. SS&C: Claim Number             ESI-01814
         9774577298 US
PX-080   Email Chain from K.A. Cappelluti (AIG) to C.       AIG-ESI-02118 - AIG-
         Wolfe re SS&C Claim Number 9774577298US            ESI-02124
PX-081   Email Chain from K.A. Cappelluti to P. Igoe re     AIG-ESI-03029; SS&C-
         Tillage                                            COV-0046238
PX-082   Email from K.A. Cappelluti (AIG) to D.             AIG-ESI-03076 - AIG-
         Ruhlman (AIG) re SS&C Technologies Inc.            ESI-03078
         Claims Update
PX-083   Email from A. Duque to K.A. Cappelluti (AIG)       AIG-ESI-03203 - AIG-
         re SS&C Technologies Inc. Claims Update            ESI-03204
PX-084   Email Chain from P. Spagnoletti to C. Wolfe and    AIG-ESI-03308 - AIG-
         K.A. Cappelluti (AIG) re Tillage: Claim Number     ESI-03310
         9774577298 US/Settlement



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PX-085   Email Chain from A. Roxland to C. Wolfe (AIG)     AIG-ESI-03887 - AIG-
         and K.A. Cappelluti re SS&C Claim Number          ESI-03891
         9774577298US
PX-086   Email Chain from K.A. Cappelluti (AIG) toG.       AIG-ESI-03971 - AIG-
         Sligman re SS&C Technologies/Tillage              ESI-03982
         Commodity Fund - 9774577298US
PX-087   Email Chain from K.A. Cappelluti to P.            AIG-ESI-05184 - AIG-
         Spagnoletti re AIG Claim 9774577298us -           ESI-05186
         Claimant: Tillage Commodity
PX-088   Email from P. Igoe (SS&C) to K.A. Cappelluti      AIG-ESI-05431; SS&C-
         (AIG) re Tillage Negotiations                     COV-0046237
PX-089   Email Chain from C. Wolfe (AIG) to K.A.           AIG-ESI-05702 - AIG-
         Cappelluti (AIG) re [EXTERNAL] Re: Tillage:       ESI-05707
         Claim Number 9774577298 US
PX-090   Email from C. Wolfe (AIG) to A. Roxland and       AIG-ESI-05954 - AIG-
         K.A. Cappelluti (AIG) re SS&C Claim Number        ESI-05956; AIG-ESI-
         9774577298US                                      10751 - AIG-ESI-10753
PX-091   Email Chain from C. Wolfe to K.A. Cappelluti      AIG-ESI-06029 - AIG-
         (AIG) re Tillage Commodities-SS&C                 ESI-06033
PX-092   Email Chain from A. Roxland (AON) to R.           AIG-ESI-06221 - AIG-
         Lindsley re 9774577298US Tillage Commodity        ESI-06222
         Fund - SS&C
PX-093   Email Chain from K.A. Cappelluti (AIG) to C.      AIG-ESI-06668 - AIG-
         Wolfe (AIG) re SS&C/Tillage - AIG Claim           ESI-06669
         #9774577298US
PX-094   Email Chain from K.A. Cappelluti (AIG) to G.      AIG-ESI-06673 - AIG-
         Seligman re Insured: SS&C Technologies /          ESI-06683
         Tillage Commodities Fund - 9774577298US
PX-095   Email Chain from C. Wolfe to K.A. Cappelluti      AIG-ESI-06788 - AIG-
         (AIG) re Tillage                                  ESI-06790
PX-096   Email Chain from M. Kelly (Davis Polk) to C.      AIG-ESI-06796 - AIG-
         Wolfe and K.A. Cappelluti (AIG) re SS&C           ESI-06801
         Claim Number 9774577298US
PX-097   Draft of AIG Specialty Risk Protector Specialty   AIG-ESI-07230 - AIG-
         Professional Liability Insurance (SPL)            ESI-07234

PX-098   Draft of 4/30/2015-4/30/2016 Underwriting         AIG-ESI-07406 - AIG-
         Analysis                                          ESI-07422
PX-099   Draft of 4/30/2015-4/30/2016 Underwriting         AIG-ESI-07426 - AIG-
         Analysis                                          ESI-07442
PX-100   Email chain from J. Marshall-Tate (FINEX North    AIG-ESI-07443 - AIG-
         America) to J. Kalustian (AIG) re SS&C            ESI-07444
PX-101   Email from S. Krusko (AIG) to J. Kalustian        AIG-ESI-07678
         (AIG) re SS&C (4/30/2015 Renewal Approval
         Referral)


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PX-102   Email from J. Kalustian to A. Peacock re SS&C      AIG-ESI-07707

PX-103   Email Chain from K. Crowley to J. Kalustian to     AIG-ESI-07749 - AIG-
         re SS&C                                            ESI-07750
PX-104   Email chain from J. Kalustian to J. Niemczyk re    AIG-ESI-07855 - AIG-
         SS&C Software Renewal 2015-2016                    ESI-07857
PX-105   Email from J. Kalustian (AIG) to A. Menier         AIG-ESI-08142
         (AIG) re SS&C (Renewal Approval Referral)
PX-106   Email Chain from A. Roxland (AON) to R.            AIG-ESI-08221 - AIG-
         Lindsley re 9774577298US Tillage Commodity         ESI-08222
         Fund - SS&C
PX-107   SS&C letter to Hong Kong Police Force re Fraud     AIG-ESI-08232
         Report
PX-108   Email Chain from A. Roxland to A. Roxland          AIG-ESI-08277 - AIG-
         forwarding P. Igie email to R. Reichman dated      ESI-08231
         March 28, 2016 re Tillage/SS&C call
PX-109   Email from L. Raymond (AIG) to P. Igoe             AIG-ESI-08361
         (SS&C) re 9774577298US Tillage Commodity
         Fund - Wire
PX-110   Email from C. Wolfe (AIG) to C. Wolfe re 2019      AIG-ESI-08400 - AIG-
         Achievements                                       ESI-08401
PX-111   Email Chain from C. Wolfe to K.A. Cappelluti re    AIG-ESI-08806 - AIG-
         SS&C/Tillage - AIG Claim #9774577298US             ESI-08807
PX-112   Email from K.A. Cappelluti (AIG) to C. Wolfe re    AIG-ESI-10213
         SS&C
PX-113   Draft of letter from AIG to P. Igoe re Claim No.   AIG-ESI-10214 - AIG-
         9774577298us (attachment to email from K.A.        ESI-10219
         Cappelluti (AIG) to C. Wolfe re SS&C)
PX-114   Email Chain from E. Schoenwolff to C. Wolfe re     AIG-ESI-10293 - AIG-
         Notice - SS&C (Tillage Commodities Fund -          ESI-10294
         Wire) E&O
PX-115   Email Chain from C. Wolfe (AIG) to E.              AIG-ESI-10731 - AIG-
         Schoenwolff re Notice - SS&C (Tillage              ESI-10732
         Commodities Fund - Wire) E&O
PX-116   Email Chain from C. Wolfe to K.A. Cappelluti       AIG-ESI-10754 - AIG-
         (AIG) re SS&C Claim Number 9774577298US            ESI-10760
PX-117   Email from A. Roxland (AON) to K.A.                AIG-ESI-10791
         Cappelluti (AIG) re SS&C - Tillage
PX-118   Email Chain from E. Monfort (AIG) to K.A.          AIG-ESI-11116 - AIG-
         Cappelluti (AIG) re SS&C Claim Update              ESI-11117
PX-119   Email from C. Wolfe (AIG) to K.A. Cappelluti       AIG-ESI-11769 - AIG-
         (AIG) re SS&C Claim Number 9774577298US            ESI-11770
PX-120   Email from C. Wolfe (AIG) to K.A. Cappelluti       AIG-ESI-12116
         (AIG) re 9774577298US-001 successfully Re-
         assigned to KRIS ANN CAPPELLUTI. SS&C
         Tech/NY

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PX-121   Email Chain from C. Wolfe (AIG) to K.A.             AIG-ESI-12117 - AIG-
         Cappelluti (AIG) re SS&C-Tillage (claim             ESI-12118
         9774577298US)
PX-122   Email Chain from A. Cerroni (SS&C) to T. Funk       SS&C-COV-0000190 -
         (Tillage) re Financial Fraud Report (including      SS&C-COV-0000203
         attachment)
PX-123   Affidavit of Matthew Balemian (Docket. No.          SS&C-COV-0007766 -
         141, Tillage Commodities Fund L.P. v. SS&C          SS&C-COV-0007771
         Technologies, Inc., Index No. 654765/2016,
         Supreme Court of New York)
PX-124   SS&C's Memorandum of Law in Support of its          SS&C-COV-0007995 -
         Motion for Summary Judgment (Docket. No.            SS&C-COV-0008022
         137, Tillage Commodities Fund L.P. v. SS&C
         Technologies, Inc., Index No. 654765/2016,
         Supreme Court of New York)
PX-125   Confidential Settlement and Release Agreement       SS&C-COV-0016777 -
         between Tillage Commodities Fund L.P., Tillage      SS&C-COV-0016788
         Commodities , LLC, Tillage Commodities
         Management, LLC, Tillage General Partner, the
         Tillage Fund and SS&C Technologies, Inc.
PX-126   Email Chain from T. Funk (Tillage) to T.            SS&C-COV-0022539 -
         Martocci (SS&C) re Today Wire Transfer              SS&C-COV-0022550
         Requests (including attachments)
PX-127   Email Chain from SSCIndiaWireGroup to T.            SS&C-COV-0034618 -
         Martocci re Nonpriority/Tillage                     SS&C-COV-0034619
         Commodities/Investment Capital/First Republic
         Bank/1 wire
PX-128   Email Chain from K.A. Cappelluti to P. Igoe et al   SS&C-COV-0046231 -
         re Tillage                                          SS&C-COV-0046232
PX-129   Email Chain from K.A. Cappelluti to P. Igoe re      SS&C-COV-0046239
         Tillage
PX-130   Email Chain from P. Spagnoletti to K.A.             SS&C-COV-0046323
         Cappelluti (AIG) re Tillage
PX-131   Financial Institution Bond Form (unfilled)
PX-132   Letter from AIG to P. Igoe (SS&C) re Claim No.      SS&C-COV-0048697 -
         4299248640US (James Bradshaw)                       SS&C-COV-0048702
PX-133   Summary of Davis Polk Invoices to SS&C for          SS&C-COV-0048946
         professional services from May 2016 to
         November 2019 in connection with potential
         claims by Tillage Commodities Management
PX-134   Davis Polk Invoice to SS&C for professional         SS&C-COV-0048947 -
         services ending April 30, 2016 in connection        SS&C-COV-0048951
         with potential claims by Tillage Commodities
         Management



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PX-135   Davis Polk Invoice to SS&C for professional        SS&C-COV-0048952 -
         services ending May 31, 2016 in connection with    SS&C-COV-0048955
         potential claims by Tillage Commodities
         Management
PX-136   Davis Polk Invoice to SS&C for professional        SS&C-COV-0048956 -
         services ending June 30, 2016 in connection with   SS&C-COV-0048959
         potential claims by Tillage Commodities
         Management
PX-137   Davis Polk Invoice to SS&C for professional        SS&C-COV-0048960 -
         services ending July 31, 2016 in connection with   SS&C-COV-0048965
         potential claims by Tillage Commodities
         Management
PX-138   Davis Polk Invoice to SS&C for professional        SS&C-COV-0048966 -
         services ending August 31, 2016 in connection      SS&C-COV-0048969
         with potential claims by Tillage Commodities
         Management
PX-139   Davis Polk Invoice to SS&C for professional        SS&C-COV-0048970 -
         services ending September 30, 2016 in              SS&C-COV-0048976
         connection with potential claims by Tillage
         Commodities Management
PX-140   Davis Polk Invoice to SS&C for professional        SS&C-COV-0048977 -
         services ending October 31, 2016 in connection     SS&C-COV-0048988
         with potential claims by Tillage Commodities
         Management
PX-141   Davis Polk Invoice to SS&C for professional        SS&C-COV-0048989 -
         services ending November 30, 2016 in               SS&C-COV-0048997
         connection with potential claims by Tillage
         Commodities Management
PX-142   Davis Polk Invoice to SS&C for professional        SS&C-COV-0048998 -
         services ending December 31, 2016 in connection    SS&C-COV-0049007
         with potential claims by Tillage Commodities
         Management
PX-143   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049008 -
         services ending January 31, 2017 in connection     SS&C-COV-0049022
         with potential claims by Tillage Commodities
         Management
PX-144   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049023 -
         services ending February 28, 2017 in connection    SS&C-COV-0049034
         with potential claims by Tillage Commodities
         Management
PX-145   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049035 -
         services ending March 31, 2017 in connection       SS&C-COV-0049044
         with potential claims by Tillage Commodities
         Management



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PX-146   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049045 -
         services ending April 30, 2017 in connection       SS&C-COV-0049061
         with potential claims by Tillage Commodities
         Management
PX-147   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049062 -
         services ending April 30, 2017 in connection       SS&C-COV-0049078
         with potential claims by Tillage Commodities
         Management
PX-148   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049079 -
         services ending May 31, 2017 in connection with    SS&C-COV-0049097
         potential claims by Tillage Commodities
         Management
PX-149   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049098 -
         services ending June 30, 2017 in connection with   SS&C-COV-0049114
         potential claims by Tillage Commodities
         Management
PX-150   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049115 -
         services ending July 31, 2017 in connection with   SS&C-COV-0049128
         potential claims by Tillage Commodities
         Management
PX-151   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049129 -
         services ending August 31, 2017 in connection      SS&C-COV-0049139
         with potential claims by Tillage Commodities
         Management
PX-152   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049140 -
         services ending September 30, 2017 in              SS&C-COV-0049148
         connection with potential claims by Tillage
         Commodities Management
PX-153   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049149 -
         services ending October 31, 2017 in connection     SS&C-COV-0049159
         with potential claims by Tillage Commodities
         Management
PX-154   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049160 -
         services ending November 30, 2017 in               SS&C-COV-0049175
         connection with potential claims by Tillage
         Commodities Management
PX-155   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049176 -
         services ending December 31, 2017 in connection    SS&C-COV-0049190
         with potential claims by Tillage Commodities
         Management
PX-156   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049191 -
         services ending January 31, 2018 in connection     SS&C-COV-0049211
         with potential claims by Tillage Commodities
         Management



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PX-157   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049212 -
         services ending February 28, 2018 in connection    SS&C-COV-0049228
         with potential claims by Tillage Commodities
         Management
PX-158   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049229 -
         services ending March 31, 2018 in connection       SS&C-COV-0049242
         with potential claims by Tillage Commodities
         Management
PX-159   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049243 -
         services ending April 30, 2018 in connection       SS&C-COV-0049255
         with potential claims by Tillage Commodities
         Management
PX-160   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049256 -
         services ending May 31, 2018 in connection with    SS&C-COV-0049274
         potential claims by Tillage Commodities
         Management
PX-161   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049275 -
         services ending June 30, 2018 in connection with   SS&C-COV-0049295
         potential claims by Tillage Commodities
         Management
PX-162   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049296 -
         services ending July 31, 2018 in connection with   SS&C-COV-0049310
         potential claims by Tillage Commodities
         Management
PX-163   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049311 -
         services ending August 31, 2018 in connection      SS&C-COV-0049314
         with potential claims by Tillage Commodities
         Management
PX-164   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049315 -
         services ending August 31, 2018 in connection      SS&C-COV-0049330
         with potential claims by Tillage Commodities
         Management
PX-165   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049331 -
         services ending September 30, 2018 in              SS&C-COV-0049334
         connection with potential claims by Tillage
         Commodities Management
PX-166   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049335 -
         services ending September 30, 2018 in              SS&C-COV-0049351
         connection with potential claims by Tillage
         Commodities Management
PX-167   Davis Polk Invoice to SS&C for professional        SS&C-COV-0049352 -
         services ending October 31, 2018 in connection     SS&C-COV-0049355
         with potential claims by Tillage Commodities
         Management



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PX-168   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049356 -
         services ending October 31, 2018 in connection    SS&C-COV-0049375
         with potential claims by Tillage Commodities
         Management
PX-169   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049376 -
         services ending November 30, 2018 in              SS&C-COV-0049379
         connection with potential claims by Tillage
         Commodities Management
PX-170   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049380 -
         services ending November 30, 2018 in              SS&C-COV-0049396
         connection with potential claims by Tillage
         Commodities Management
PX-171   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049397 -
         services ending December 31, 2018 in connection   SS&C-COV-0049400
         with potential claims by Tillage Commodities
         Management
PX-172   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049401 -
         services ending December 31, 2018 in connection   SS&C-COV-0049415
         with potential claims by Tillage Commodities
         Management
PX-173   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049416 -
         services ending January 31, 2019 in connection    SS&C-COV-0049420
         with potential claims by Tillage Commodities
         Management
PX-174   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049421 -
         services ending January 31, 2019 in connection    SS&C-COV-0049434
         with potential claims by Tillage Commodities
         Management
PX-175   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049435 -
         services ending February 28, 2019 in connection   SS&C-COV-0049438
         with potential claims by Tillage Commodities
         Management
PX-176   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049439 -
         services ending February 28, 2019 in connection   SS&C-COV-0049454
         with potential claims by Tillage Commodities
         Management
PX-177   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049455 -
         services ending March 31, 2019 in connection      SS&C-COV-0049458
         with potential claims by Tillage Commodities
         Management
PX-178   Davis Polk Invoice to SS&C for professional       SS&C-COV-0049459 -
         services ending March 31, 2019 in connection      SS&C-COV-0049473
         with potential claims by Tillage Commodities
         Management



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PX-179   Davis Polk Invoice to SS&C for professional         SS&C-COV-0049474 -
         services ending April 30, 2019 in connection        SS&C-COV-0049477
         with potential claims by Tillage Commodities
         Management
PX-180   Davis Polk Invoice to SS&C for professional         SS&C-COV-0049478 -
         services ending April 30, 2019 in connection        SS&C-COV-0049502
         with potential claims by Tillage Commodities
         Management
PX-181   Davis Polk Invoice to SS&C for professional         SS&C-COV-0049503 -
         services ending June 26, 2019 in connection with    SS&C-COV-0049506
         potential claims by Tillage Commodities
         Management
PX-182   Davis Polk Invoice to SS&C for professional         SS&C-COV-0049507 -
         services ending June 26, 2019 in connection with    SS&C-COV-0049536
         potential claims by Tillage Commodities
         Management
PX-183   Davis Polk Invoice to SS&C for professional         SS&C-COV-0049537 -
         services ending October 31, 2019 in connection      SS&C-COV-0049540
         with potential claims by Tillage Commodities
         Management
PX-184   Amended Complaint (James Bradshaw, et al v.
         Stephen Maiden et al, General Court of Justice,
         Superior Court Division, State of North Carolina,
         County of Mecklenburg, Docket No. 14-CVS-
         14445)
PX-185   Email Chain from C. Wolfe (AIG) to FL-Drop          AIG-ESI-06986 - AIG-
         File re Notice - SS&C (Tillage Commodities          ESI-06987
         Fund - Wire) E&O - PLEADING ATTACHED
         Claim 9774577298US
PX-186   Memorandum of Law in Support of Defendant's
         to Motion to Dismiss (Docket. No. 7, Tillage
         Commodities Fund L.P. v. SS&C Technologies,
         Inc., Index No. 654765/2016, Supreme Court of
         New York)
PX-187   Reply Memorandum of Law in Support of
         Defendant's Motion to Dismiss (Docket. No. 29,
         Tillage Commodities Fund L.P. v. SS&C
         Technologies, Inc., Index No. 654765/2016,
         Supreme Court of New York)
PX-188   Letter from AIG to P. Igoe (SS&C) re Claim No.      SS&C-COV-0048693 -
         4299248340US (James Bradshaw)                       SS&C-COV-0048696
PX-189   Memorandum of Law in Opposition to
         Defendant's Motion for Summary Judgment
         (Docket. No. 175, Tillage Commodities Fund
         L.P. v. SS&C Technologies, Inc., Index No.
         654765/2016, Supreme Court of New York)

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PX-190   Memorandum of Law in Opposition to
         Defendant's Motion for Summary Judgment
         (Docket. No. 188, Tillage Commodities Fund
         L.P. v. SS&C Technologies, Inc., Index No.
         654765/2016, Supreme Court of New York)
PX-191   Memorandum of Law in Further Support of
         Tillage Commodities Management, LLC's
         Motion for Summary Judgment (Docket. No.
         214, Tillage Commodities Fund L.P. v. SS&C
         Technologies, Inc., Index No. 654765/2016,
         Supreme Court of New York)
PX-192   SS&C Reply Memorandum of Law in Further
         Support of Its Motion for Summary Judgment
         (Docket. No. 218, Tillage Commodities Fund
         L.P. v. SS&C Technologies, Inc., Index No.
         654765/2016, Supreme Court of New York)
PX-193   SS&C Memorandum of Law in Opposition to
         Tillage Management's Motion for Summary
         Judgment (Tillage Commodities Fund L.P. v.
         SS&C Technologies, Inc., Index No.
         654765/2016, Supreme Court of New York)
PX-194   Reply Memorandum of Law in Further Support
         of Tillage Commodities Management, LLC
         Motion for Summary Judgment (Docket. No.
         242, Tillage Commodities Fund L.P. v. SS&C
         Technologies, Inc., Index No. 654765/2016,
         Supreme Court of New York)
PX-195   Email Chain from P. Spagnoletti to L. Solbakken      SS&C-COV-0016821 -
         re Tillage/Settlement Communication                  SS&C-COV-0016823

PX-196   Stipulation and Order on Settlement (Docket. No.
         248, Tillage Commodities Fund L.P. v. SS&C
         Technologies, Inc., Index No. 654765/2016,
         Supreme Court of New York)
PX-197   AIG Specialty Insurance Company’s Responses
         to Plaintiff's First Set of Requests for Admission

PX-198   Letter from Ryan McCartney to Alex Reisen re
         Tillage Commodities Fund, L.P. v. SS&C
         Technologies, Inc. (Index No. 654765/2016)
PX-199   Summary of Invoices related to Tillage Action
PX-200   Summary of Invoices related to the instant
         litigation
PX-201   Email Chain from P. Spagnoletti to C. Wolfe re       AIG-ESI-01828-AIG-
         Tillage Claim                                        ESI01829



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       Plaintiff may introduce some or all of the exhibits on this Exhibit List. Plaintiff reserves

the right to supplement or amend their Exhibit List in light of AIG’s objections and AIG’s list of

exhibits. Plaintiff also reserves the right to supplement or amend their Exhibit List based, among

other things, on the Court’s summary judgment, pre-trial, and trial evidentiary rulings; the

ongoing discovery in this action or otherwise; and the arguments and evidence offered by AIG in

their case-in-chief. This Exhibit List does not include documents that Plaintiffs may use for

cross examination, for impeachment, to refresh recollection, or in rebuttal. This Exhibit List

does not include demonstrative exhibits, and Plaintiffs reserve their right to offer into evidence

summary, blow-up, handout, or composite exhibits. In additional, Plaintiffs reserve the right to

introduce any exhibit on AIG’s list of exhibits. The inclusion of exhibits on this Exhibit List

does not waive any objections available under the Federal Rules of Evidence or otherwise that

Plaintiff may have to the introduction of such exhibit if offered by AIG. The inclusion of any

exhibit on this list does not waive and is subject to all motions in limine and motions for

summary judgment, which, if granted, may result in the deletion and/or redaction of certain

exhibits as appropriate.

Dated: New York, New York
       January 22, 2019

                                                     MCKOOL SMITH, P.C.

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                                   Attorneys for Plaintiff SS&C Technologies
                                   Holdings, Inc.




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